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                                                                                                                                                                   Exhibit "A"
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   The 33,600-dwt Gea (built 2005). The ship was owned by Naviera Ulises before being sold to a Danish outﬁt. Photo: Doug Shaw/MarineTrafﬁc


   Fednav suing Greek owner after open seas engine failure
   8 July 2019 19:37 GMT   UPDATED 8 July 2019 19:37 GMT
   by Matt Coyne



   Canadian owner Fednav is looking to obtain nearly $1.2m in security ahead of arbitration in London over a ship gone bad.

   The privately-held, Montreal-based company sued late last week in Miami federal court, alleging it suffered seven-ﬁgure damages after bulk cargo
   seeped into fuel tanks and damaged engines aboard the Naviera Ulises-connected 33,600-dwt Gea (built 2005) last year. It seeks to garnish bank
   accounts with Spain's Banco Sabadell in Miami.

                                               The suit, which names the Gea's one-time registration company, Allpine Worldwide, as the sole defendant, says
                                               Fednav chartered the handysize bulker for two-three laden legs in September 2018.

                                               The ship was loaded with 31,500 tonnes of sandy calcined metallurgical grade alumina in Thailand 30 September
                                               and set sail for Sept-Iles, near the mouth of the St. Lawrence River in northeastern Quebec.
    Other people’s money
                                               A week later, the Gea's engine failed in the Indian Ocean, leaving it adrift for 10 days after the alumina allegedly
    does not interest
                                               contaminated fuel tanks thanks to corroded vent pipes in the cargo holds. The ship was repaired in South Africa
    Fednav’s Paul Pathy
                             Read more
                                               over the next 51 days and released in mid-December 2018.

                                               The damage was discovered, the complaint said, after the cargo was discharged in Canada in mid-January.

                                               The damage meant Fednav had to enter into "a loss-making sub-charter" that ended in February when the ship was
                                               redelivered in Poland.

                                               According to the charter, disputes will be settled by the London Maritime Arbitrators Association. So far, both
    Greeks warm to                             Fednav and Allpine have named arbitrators. The third has yet to be appointed.
    handysize bulker buys as
    market heats up                            Last week, TradeWinds reported the Gea had been sold to Danish outﬁt Janchart Shipping for about $6.9m.
                             Read more
                                 The complaint says funds from that sale of the ship either are or will be in the Banco Sabadell accounts, along with
   proceeds from delivering a sugar cargo at a Russian port.

   Naviera Ulises did not immediately return requests for comment.
   Legal     Fednav Allpine Worldwide          Banco Sabadell     Naviera Ulises Gea




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